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                     EXHIBIT A
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JASON J. KILBORN,                                  )
                                                    )
                 Plaintiff,                         )
                                                    )
        v.                                          )       Case No. 1:22-cv-00475
                                                    )
 MICHAEL AMIRIDIS, CARYN A. BILLS,                  )       Hon. John Z. Lee
 JULIE M. SPANBAUER, DONALD KAMM,                   )       Magistrate Judge Sheila M. Finnegan
 and ASHLEY DAVIDSON,                               )
                                                    )
                 Defendants.                        )

                         PLAINTIFF’S SURREPLY IN OPPOSITION
                         TO DEFENDANTS’ MOTION TO DISMISS

       Plaintiff, Jason Kilborn, respectfully submits this surreply in opposition to Defendants’

Motion to Dismiss (Dkt. 20) to address certain new arguments made in their Reply (Dkt. 31),

specifically in Defendants’ argument that Kilborn’s Section 1983 official-capacity claims for

injunctive relief are barred by the Eleventh Amendment. (Dkt. 31 at 1-4).

       First, Kilborn’s Ex Parte Young case is not limited to injunctive relief regarding the

mandated training program or his return to teaching. Defendants argue without support that the

First Amended Complaint (“FAC”) (Dkt. 9) does not properly seek judicial scrutiny of

Defendants’ unconstitutional antiharassment policy. (Dkt. 31 at 1, 4, citing Dkt. 23 at ECF p. 14).

Kilborn’s suit challenges, on constitutional grounds, Defendants’ ongoing enforcement of an

unconstitutional, vague, and arbitrary antiharassment policy that punishes and chills protected

speech. (e.g., FAC ¶¶ 55-60, 73-77). Kilborn challenges the ruling that his past speech violated

Defendants’ policy (FAC ¶¶ 25-43), for which Defendants have implemented an arbitrarily

shifting series of ongoing punishments. (FAC ¶¶ 44-51). Defendant Spanbauer’s March 4, 2022

email (Dkt. 32-3), cited in Defendants’ Reply, confirms that Kilborn is still on probation for that
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past conduct. Kilborn also challenges the continued enforcement of the policy against him because

it chills his important rights to speak and teach freely as a law professor. (e.g., FAC ¶¶ 55, 57, 60,

65-66, 73-76). Defendants have not abandoned their unconstitutional antiharassment policy, by

which Defendants use vague and arbitrary standards to implement the single word “harassment.”

(FAC ¶¶ 73-76). These facts alleged in the FAC support a claim under Section 1983 that the policy

violates the First and Fourteenth Amendments. Facts are what count under Fed. R. Civ. P. 8, and

complaints in the Seventh Circuit do not require the pleading of legal theories. Hatmaker v.

Memorial Med. Ctr., 619 F.3d 741, 743 (7th Cir. 2010). Further, based on the factual allegations

and consistent with countless other speech cases against state actors in federal court, the FAC

requests classic Ex Parte Young injunctive relief both to stop Defendants’ unconstitutional

punishment of Kilborn’s past speech and to preclude future unconstitutional enforcement of the

policy against him. (FAC p. 20, Prayer for Relief at A, B).

       Second, Defendants attack Kilborn’s assertion in the Response (Dkt. 23 at ECF p. 10) that

Defendants have not said whether he has completed a mandated training program to their

satisfaction and that his return to teaching remains subject to Defendants’ whim. As noted above,

Kilborn’s case is not limited to challenging “the University’s alleged requirement that Kilborn

complete a diversity training program” before returning him to teaching, but Defendants argue that

claim is defeated by the allegation that Kilborn has “since complied with this mandated ‘training.’”

(Dkt. 31 at 2, citing FAC ¶¶ 50-51). Defendants also argue that Kilborn’s argument is defeated by

the post-FAC March 2, 2022 email that underlies their Rule 11 motion. (Dkt. 31 at 1-2).

       The FAC nowhere alleges that Defendants’ entire training program has been completed, or

that Defendants have stated their satisfaction, or that Kilborn is sure to be teaching in the Fall of

2022. Defendants just spin the word “complied” in Paragraph 51 of the FAC. That allegation is

only that Kilborn had at that time submitted to what Defendants had forced him to do, in their

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ongoing violation of the First and Fourteenth Amendments. It is indisputable that the training

program was not complete when the FAC was filed (Dkt. 32-1 at ¶¶4-5); Kilborn completed that

training program only later, on March 11, 2022, a fact which Defendants likewise do not dispute.

(Dkt. 30 at 11).

       Similarly, the Spanbauer emails of March 2 and 4, 2022 that post-date the FAC (Dkt. 30-

1, 32-3), if considered under Rule 12, also do not compel Defendants’ version of the facts. The

post-FAC facts are addressed in detail in Kilborn’s response to the Rule 11 motion. (Dkt. 32). In

summary: (1) the March 2 email (Dkt. 30-1) came before Kilborn had even completed his

mandated training; (2) Defendant Spanbauer’s contemporaneous email blast to the entire student

body on March 4, 2022 (Dkt. 32-3) referenced only the “Cornell” module of the training, which

was only the first portion of the mandated program (Dkt. 32-1 at ¶¶4-5); (3) Kilborn’s repeated

queries as to whether he had satisfied the requirement of his “engagement and commitment to the

goals of the program” (see FAC ¶ 50) went unanswered (Dkt. 32-1 at ¶6); and (4) after public

outcry, Defendants had earlier reneged on a prior agreement made by Spanbauer by abruptly

suspending him from teaching his previously scheduled Spring semester classes on December 16,

2021 (FAC ¶¶ 45, 47-49). Spanbauer’s vague, premature email did not put Kilborn on notice that

his obligation under the sensitivity training program was complete (because it was not). Further,

nothing in Spanbauer’s email reflects that she was providing a binding clearance on behalf of the

other UIC administrators who mandated the training in the first place.

       In short, Defendants have refused to commit to any end of Kilborn’s punishment and he

remains subject to their whim. Kilborn’s factual allegations cited above properly support

prospective injunctive relief to stop any further punishment for Kilborn’s past speech, because:

Kilborn remains a convicted violator of Defendants policy; Kilborn remains on probation for his

past conduct, where even if he gets to teach again he is being monitored closely for any perceived

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violations of Defendants’ unconstitutional antiharassment policy; and Defendants have clearly

demonstrated their willingness to suspend him summarily even before the next semester, especially

if Defendants conclude he was not sufficiently engaged and committed to the goals of their training

program or if Defendants once again bow to outside pressure. Under the Ex Parte Young doctrine,

the Court can restrain Defendants from exercising any of those powers in violation of the

constitution. The Court also can compel Defendants to correct the false disciplinary record that

now labels Kilborn a convicted violator of Defendants’ unconstitutional policy. Elliott v. Hinds,

786 F.2d 298, 302 (7th Cir. 1986).

       In the Reply, Defendants are arguing limited and disputed facts that cannot support a Rule

12 motion to dismiss. But even if the Court accepted Defendants’ incorrect version of the limited

facts regarding the training program and teaching assignments, the other facts in the FAC establish

that Kilborn remains subject to Defendants’ unconstitutional antiharassment policy. The

continuing threat of that policy chills his constitutional right to speak and teach freely as a law

professor. Defendants have made clear that they intend to apply their unconstitutional policy with

vigor by closely monitoring Kilborn’s future speech. Viewed properly and free of the Defendants’

distortions, this is a classic Ex Parte Young case, where the enforcement of Defendants’

unconstitutional antiharassment policy against Kilborn’s past speech is ongoing and the threat of

future enforcement against Kilborn is real and imminent. This Court has the power to determine

whether Defendants’ policy violates the constitution and, if it does, the Court can enjoin any further

acts of enforcement.

       For the above reasons and those in Plaintiff’s Response, Plaintiff respectfully requests that

the Court deny Defendants’ motion to dismiss.




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                                       Respectfully submitted,

                                               /s/Paul K. Vickrey
                                       Paul K. Vickrey (vickrey@vvnlaw.com)
                                       Patrick F. Solon (solon@vvnlaw.com)
                                       Dylan M. Brown (brown@vvnlaw.com)
                                       VITALE, VICKREY, NIRO, SOLON &
                                       GASEY LLP
                                       311 S. Wacker Dr., Suite 2470
                                       Chicago, IL 60606
                                       (312) 236-0733
                                       Fax: (312) 236-3137

                                       Attorneys for Plaintiff, Jason J. Kilborn




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